
17 A.3d 143 (2011)
418 Md. 593
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
John VENUTI, Respondent.
Misc. Docket AG No. 86, September Term, 2010.
Court of Appeals of Maryland.
April 20, 2011.

ORDER
Upon consideration of the Joint Petition for Indefinite Suspension filed herein, pursuant to Maryland Rule 16-772, it is this 20th day of April, 2011,
ORDERED, by the Court of Appeals of Maryland, that John Venuti be, and he is hereby, suspended by consent from the practice of law in the State of Maryland for a period of six months, effective immediately; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of John Venuti from the register of attorneys in this Court and, pursuant to Maryland Rule 16-772(d) shall certify to the Trustees of the Client Protection Fund of the Bar of Maryland and the Clerks of all judicial tribunals in this *144 State that the name of John Venuti has been so stricken.
